  Case: 1:20-cv-02134 Document #: 64-1 Filed: 04/19/20 Page 1 of 1 PageID #:1782




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ANTHONY MAYS, Individually and on behalf            )
of a class of similarly situated persons; and       )
JUDIA JACKSON, as next friend of KENNETH            )
FOSTER, Individually and on behalf of a class       )
of similarly situated persons,                      )
                                                    )
      Plaintiffs-Petitioners,                       )
                                                    )       Case No. 1:20-cv-2134
               v.                                   )
                                                    )       The Hon. Matthew F. Kennelly
THOMAS J. DART, Sheriff of Cook                     )       Emergency Judge
County,                                             )
                                                    )       The Hon. Robert Gettleman
      Defendant-Respondent.                         )       Presiding Judge

        Exhibit                                          Description
          A                Declaration of Dr. Homer Venters
          B                Declaration of Dr. Amir Moheb Mohareb
          C                Declaration of Dr. Laura Rasmussin-Torvik
                           Declarations of Cook County Jail Detainees Bryant Blake, Kevin
                           Watson, Charles Bocock, Javier Montanez, Jeffrey Ferguson,
           D               Dominick Wing, Lamonte Powell, Dante McGee, Eric Blake, Deon
                           Baker, Michael Jorgensen, Isaac Correcillias-Correa, and Joshua
                           Barbee
                           Basank, et al. v. Decker, et al., No. 20 C 2518, Dkt. 11 (S.D.N.Y.
           E               Mar. 26, 2020); and Flores, et al. v. Barr, et al., No. 85 C 4544, Dkt.
                           740 (C.D. Cal. Mar. 28, 2020)
                           Savino, et al. v. Souza, No. 20 C 10617, Dkt. 44-45 (D. Mass. Apr.
           F               4, 2020); Dkt. 77 (D. Mass. Apr. 10, 2020); and Dkt. 86 (D. Mass.
                           Apr. 15, 2020)




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